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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA

OWEN HARTY, Individually,                            :
                                                     :
               Plaintiffs,                           :
                                                     :
v.                                                   :   Case No. 8:09-cv-2339-T30
                                                     :
FUEL AND SHUBH CAPITAL                               :
MANAGEMENT II, LLC, A Florida Limited                :
Liability Company, and WESTSHORE HOTEL               :
PROPERTY, LLC, a Foreign Limited Liability           :
Company

            Defendant.
_______________________________________/

                                   AMENDED COMPLAINT
                                   (Injunctive Relief Demanded)

       Plaintiff, OWEN HARTY, Individually, on his behalf and on behalf of all other individuals

similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant, FUEL AND

SHUBH CAPITAL MANAGEMENT II, LLC, A Florida Limited Liability Company, and

WESTSHORE HOTEL PROPERTY, LLC, a Foreign Limited Liability Company (sometimes

referred to as “Defendant”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and Florida

Accessability Code ("FAC").

1.     Plaintiff is a Florida resident, lives in Broward County, is sui juris, and qualifies as an

       individual with disabilities as defined by the ADA. Plaintiff is bound to ambulate in a

       wheelchair.

2.     Defendant’s property, The West Shore Hotel,1200 N. West shore Blvd., Tampa, FL 33602,

       is located in the County of Hillsborough.
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3.   Venue is properly located in the MIDDLE DISTRICT OF FLORIDA because venue lies in

     the judicial district of the property situs. The Defendant’s property is located in and does

     business within this judicial district.

4.   Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

     jurisdiction over actions which arise from the Defendant’s violations of Title III of the

     Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and

     § 2202.

5.   Plaintiff has visited the property which forms the basis of this lawsuit and plans to return to

     the property to avail himself of the goods and services offered to the public at the property,

     and to determine whether the property has been made ADA and FAC compliant. The

     Plaintiff has encountered architectural barriers at the subject property which discriminate

     against him on the basis of his disability and have endangered his safety. These barriers also

     prevent Plaintiff from returning to the property to enjoy the goods and services available to

     the public.

6.   Plaintiff has suffered and will continue to suffer direct and indirect injury as a result of the

     Defendant’s discrimination until the Defendant is compelled to comply with the requirements

     of the ADA and FAC . Plaintiff is deterred from, and is denied the opportunity to participate

     and benefit from the goods, services, privileges, advantages, facilities and accommodations

     at Defendant's property equal to that afforded to other individuals. Plaintiff is aware that it

     would be a futile gesture to attempt to visit Defendant's property if he wishes to do so free

     of discrimination.




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7.    Defendant owns, leases, leases to, or operates a place of public accommodation as defined

      by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.

      Defendant is responsible for complying with the obligations of the ADA. The place of public

      accommodation that the Defendant owns, operates, leases or leases to is known as The West

      Shore Hotel,1200 N. West shore Blvd., Tampa, FL 33602.

8.    Plaintiff has a realistic, credible, existing and continuing threat of discrimination from the

      Defendant’s non-compliance with the ADA and FAC with respect to this property as

      described but not necessarily limited to the allegations in paragraph 10 of this Complaint.

      Plaintiff has reasonable grounds to believe that he will continue to be subjected to

      discrimination in violation of the ADA by the Defendant. Plaintiff desires to visit The West

      Shore Hotel not only to avail himself of the goods and services available at the property but

      to assure himself that this property is in compliance with the ADA and FAC so that he and

      others similarly situated will have full and equal enjoyment of the property without fear of

      discrimination.

9.    The Defendant has discriminated against the Plaintiff by denying him access to, and full and

      equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

      accommodations of the subject property, as prohibited by 42 U.S.C. § 12182 et seq.

10.   The Defendant has discriminated, and is continuing to discriminate, against the Plaintiff in

      violation of the ADA and FAC by failing to, inter alia, have accessible facilities by January

      26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts

      of $500,000 or less). A preliminary inspection of The West Shore Hotel has shown that

      violations exist. These violations include, but are not limited to:


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     Parking

     1. There are accessible spaces that do not provide signs designating the disabled
     use spaces, in violation of Section 4.6.4 of the ADAAG whose resolution is readily
     achievable.

     2. Where posted, signage at some of the designated accessible parking spaces
     are not mounted at sufficient heights in violation of section 4.6.4 of the ADAAG
     whose resolution is readily achievable.

     3. There are disabled use spaces that do not have clear and level access aisles
     provided, violating Sections 4.1.2, and 4.6.3 of the ADAAG whose resolution is
     readily achievable.

     4. There is a passenger unloading area provided for public use without designating
     an area for disabled use in violation of Section 4.6.6 of the ADAAG whose
     resolution is readily achievable.

     5. Some of the disabled use spaces and/or unloading areas are located on a slope
     in violation of Section 4.6.3 and 4.6.6 of the ADAAG whose resolution is readily
     achievable.


     Entrance Access and Path of Travel
     1.      There are curb ramps at the facility that project into vehicular areas in
     violation of Section 4.7.6 of the ADAAG whose resolution is readily achievable.

     2.  There are no proper handrails provided for the ramps to the facility, in violation
     of Section 4.8.5 of the ADAAG whose resolution is readily achievable.

     3. The doors at several of the building entrances are fitted with inaccessible
     hardware at the facility, in violation of Section 4.13.9 of the ADAAG whose
     resolution is readily achievable.

     4. There are stairs provided at the facility that do not comply with the standards
     prescribed in Section 4.9 of the ADAAG whose resolution is readily achievable.

     5. There are elevators provided at the facility that do not comply with the standards
     prescribed in Section 4.10 of the ADAAG whose resolution is readily achievable.




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     Access to Goods and Services

     1. There are permanently designated interior spaces without proper signage in
     violation of Section 4.1.2 and 4.30 of the ADAAG whose resolution is readily
     achievable.

     2. There are counters throughout the facility in excess of 36”, in violation of Section
     7.2(1) of the ADAAG whose resolution is readily achievable.

     3. There is seating provided at the facility that does not comply with the standards
     prescribed in Section 4.32 of the ADAAG whose resolution is readily achievable.

     4. There is an ATM provided for public use that does not comply with the
     requirements of Section 4.34 of the ADAAG whose resolution is readily achievable.

     5. There are recreational areas for public use at the facility without the required
     disabled use elements, in violation of several Sections of the ADAAG whose
     resolution is readily achievable.

     Restrooms

     1. The restroom door has improper hardware for disabled patrons, in violation of
     Section 4.13.9 of the ADAAG whose resolution is readily achievable.

     2. There are restrooms for public use at the facility without the required disabled
     use elements, in violation of several Sections of the ADAAG whose resolution is
     readily achievable.

     3. The toilet stalls provided for public use at the facility are in violation of Section
     4.17 of the ADAAG whose resolution is readily achievable.

     4. The grab-bars in the toilet room stalls do not comply with the requirements
     prescribed in Sections 4.17.6 and 4.26 of the ADAAG whose resolution is readily
     achievable.

     5. The water closets that are provided for public use at the facility violate the
     provisions of Section 4.16 of the ADAAG whose resolution is readily achievable.

     6.  There are urinals provided for public use that do not comply with the standards
     set forth in Section 4.18 of the ADAAG whose resolution is readily achievable.

     7.  The lavatories in the restroom provided do not meet the requirements prescribed
     in Section 4.24 of the ADAAG whose resolution is readily achievable.



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     8.  There are exposed pipes in restrooms at the facility, violating of Section 4.19.4
     of the ADAAG whose resolution is readily achievable.

     9. The mirrors provided for public use in the restroom are in violation of the
     requirements in Section 4.19 of the ADAAG whose resolution is readily achievable.

     10.There are dispensers provided for pubic use in the restroom, with controls
     outside the ranges prescribed in Section 4.27 of the ADAAG whose resolution is
     readily achievable.

     11. Some of the restrooms do not provide the required amenities for public use
     violating the provisions of the ADAAG whose resolution is readily achievable.

     12.Some of the restrooms do not provide the required latch side clearance violating
     the provisions of the ADAAG whose resolution is readily achievable.

     13. There are showers provided at the facility without elements to facilitate use by
     the disabled in violation of several section of the ADAAG whose resolution is readily
     achievable.


     Accessible Guest Rooms

     1. There are rooms for public lodging at the facility without the required disabled use
     elements, in violation of several Sections of the ADAAG whose resolution is readily
     achievable.

     2. The rooms designated as accessible are not equipped with accessible door hardware
     violating Sections 4.13.9 and 9 of the ADAAG whose resolution is readily achievable.

     3. There is no clear path of travel provided between all elements in the disabled room. This
     is in violation of Sections 4.3 and 9 of the ADAAG whose resolution is readily achievable.


     4. There are barriers to access in the guestrooms designated for disabled use in violation
     of several Sections of the ADAAG, whose resolution is readily achievable.

           5. The rooms designated for disabled use do not provide a 36-inch clear floor space on
           both sides of the bed in violation of Section 9 of the ADAAG whose resolution is
           readily achievable.

           6. The rooms designated for disabled use provide elements with controls and/or
           dispensers outside of the required reach ranges violating Sections 4.2 and 9 of the
           ADAAG whose resolution is readily achievable.


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        7. The fixtures in the disabled use room have controls that cannot be operated with
        a closed fist in violation of the ADAAG whose resolution is readily achievable.

        8. The rooms designated for disabled use do not provide elements equipped for use by
        the hearing and/or 'visually impaired violating Section 9 of the ADAAG whose
        resolution is readily achievable.

        9. The water closets that are provided for public use at the facility violate the
        provisions of Section 4.16 of the ADAAG whose resolution is readily achievable.

        10.    The grab-bars in the restroom provided in the room designated as accessible do
        not comply with the requirements prescribed in Sections 4.17.6 and 4.26 of the ADAAG
        whose resolution is readily achievable.

        11. The bathtub does not provide a seat as required in Section 4.20.3 of the
        ADAAG whose resolution is readily achievable.

        12.     The sinks in the restroom provided in the room designated for disabled use do
        not meet the requirements prescribed in Sections 4.24 of the ADAAG whose resolution
        is readily achievable.



  11.   The discriminatory violations described in paragraph 10 are not an exclusive list of the

        Defendant’s ADA and FAC violations. Plaintiff requires the inspection of the

        Defendant’s place of public accommodation in order to photograph and measure all of

        the discriminatory acts violating the ADA and FAC and all of the barriers to access.

        The Plaintiff, and all other individuals similarly situated, have been denied access to,

        and have been denied the benefits of services, programs and activities of the Defendant’s

        buildings and its facilities, and have otherwise been discriminated against and damaged

        by the Defendant because of the Defendant’s ADA and FAC violations, as set forth

        above. The Plaintiff and all others similarly situated will continue to suffer such

        discrimination, injury and damage without the immediate relief provided by the ADA


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        and FAC as requested herein. In order to remedy this discriminatory situation, the

        Plaintiff requires an inspection of the Defendant’s place of public accommodation in

        order to determine all of the areas of non-compliance with the Americans with

        Disabilities Act and FAC .

  12.   Defendant has discriminated against the Plaintiff by denying him access to full and equal

        enjoyment of the goods, services, facilities, privileges, advantages and/or

        accommodations of its place of public accommodation or commercial facility in

        violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the

        Defendant continues to discriminate against the Plaintiff, and all those similarly situated

        by failing to make reasonable modifications in policies, practices or procedures, when

        such modifications are necessary to afford all offered goods, services, facilities,

        privileges, advantages or accommodations to individuals with disabilities; and by failing

        to take such efforts that may be necessary to ensure that no individual with a disability

        is excluded, denied services, segregated or otherwise treated differently than other

        individuals because of the absence of auxiliary aids and services.

  13.   Plaintiff is without adequate remedy at law and is suffering irreparable harm. Plaintiff

        has retained the undersigned counsel and is entitled to recover attorney’s fees, costs and

        litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR

        36.505.

  14.   Defendant is required to remove the existing architectural barriers to the physically

        disabled when such removal is readily achievable for its place of public accommodation

        that have existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there


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        has been an alteration to Defendant’s place of public accommodation since January 26,

        1992, then the Defendant is required to ensure to the maximum extent feasible, that the

        altered portions of the facility are readily accessible to and useable by individuals with

        disabilities, including individuals who use wheelchairs, 28 CFR 36.402; and finally, if

        the Defendant’s facility is one which was designed and constructed for first occupancy

        subsequent to January 26, 1993, as defined in 28 CFR 36.401, then the Defendant’s

        facility must be readily accessible to and useable by individuals with disabilities as

        defined by the ADA and FAC.

  15.   Notice to Defendant is not required as a result of the Defendant’s failure to cure the

        violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer

        employees and gross receipts of $500,000 or less). All other conditions precedent have

        been met by Plaintiff or waived by the Defendant.

  16.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

        Injunctive Relief, including an order to require the Defendant to alter The West Shore

        Hotel to make those facilities readily accessible and useable to the Plaintiff and all other

        persons with disabilities as defined by the ADA; or by closing the facility until such time

        as the Defendant cures its violations of the ADA.

  WHEREFORE, Plaintiff respectfully requests:

        a.      The Court issue a Declaratory Judgment that determines that the Defendant at

                the commencement of the subject lawsuit is in violation of Title III of the

                Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. and FAC.

        b.      Injunctive relief against the Defendant including an order to make all readily


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              achievable alterations to the facility; or to make such facility readily accessible

              to and usable by individuals with disabilities to the extent required by the ADA

              and FAC; and to require the Defendant to make reasonable modifications in

              policies, practices or procedures, when such modifications are necessary to

              afford all offered goods, services, facilities, privileges, advantages or

              accommodations to individuals with disabilities; and by failing to take such

              stops that may be necessary to ensure that no individual with a disability is

              excluded, denied services, segregated or otherwise treated differently than other

              individuals because of the absence of auxiliary aids and services.

        c.    An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

              § 12205.

        d.    Such other relief as the Court deems just and proper, and/or is allowable under

              Title III of the Americans with Disabilities Act.

                                             Respectfully Submitted,

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                                             By:__/s/ Thomas B. Bacon, Esq. ___
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